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 4
     Attorney for Defendant
 5   ARMANDO ESPINDOLA

 6

 7                           IN THE UNITED STATES DISTRICT COURT

 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,               )
                                             )     2:09-cr-00380-03 WBS
11                              Plaintiff,   )
                                             )     STIPULATION AND [PROPOSED] ORDER
12   v.                                      )     TO CONTINUE ADMIT/DENY HEARING
                                             )
13                                           )
     ARMANDO ESPINDOLA,                      )
14                                           )
                             Defendant.      )
15   __________________________________      )

16
                                         STIPULATION
17
              Plaintiff, United States of America, by and through its counsel,
18
     Assistant United States Attorney Jeremy J. Kelley, and defendant, Armando
19
     Espindola, by and through his counsel, Erin J. Radekin, agree and stipulate
20
     to vacate the date set for admit/deny hearing, January 4, 2016 at 9:00 a.m.,
21
     in the above-captioned matter, and to continue the admit/deny hearing to
22
     February 16, 2016 at 9:00 a.m. in the courtroom of the Honorable William B.
23
     Shubb.
24
              The reason for this request is that the parties have determined
25
     resolution of this matter should follow the state matter that underlies the
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     sole violation of supervised release alleged, and the next court appearance
27
     in the state case is February 2, 2016.      The next date at which all parties
28



                                     Stipulation and Order - 1
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 1   can appear is February 16, 2016.     The court is advised Mr. Kelley and United

 2   States Probation Officer Jose Figueroa concur with this request and Mr.

 3   Kelley has authorized Ms. Radekin to sign this stipulation on his behalf.

 4            Accordingly, the parties respectfully request the Court adopt this

 5   proposed stipulation.

 6   IT IS SO STIPULATED.

 7   Dated: December 30, 2015                       BENJAMIN WAGNER
                                                    United States Attorney
 8
                                            By:      /s/ Jeremy J. Kelley
 9                                                  JEREMY J. KELLEY
                                                    Assistant United States Attorney
10

11   Dated: December 30, 2015                        /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
12                                                  Attorney for Defendant
                                                    ARMANDO ESPINDOLA
13

14
                                            ORDER
15
              For the reasons set forth in the accompanying stipulation and
16
     declaration of counsel, the admit/deny hearing date of January 4, 2016 is
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     VACATED and the above-captioned matter is set for admit/deny hearing on
18
     February 16, 2016 at 9:00 a.m.
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     IT IS SO ORDERED.
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     Dated:     December 31, 2015
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                                     Stipulation and Order - 2
